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                                                                           00477.20938/MGD-VMC
                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION


PATRICIA A. CHAMBLISS and
THOMAS F. CHAMBLISS,

       Plaintiffs,

vs.                                                     Docket No. 21-cv-01136-STA-jay

FELIPE MARTINEZ, IV;
LUEBE-JONES, INC.;
AVADEK, INC.;
AVADEK, INC. d/b/a LUEBE-JONES, INC.;
PERFECTION ARCHITECTURAL SYSTEMS, LLC; and
ENTERPRISE FM TRUST,

       Defendants.


       STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE AS TO
                        ENTERPRISE FM TRUST ONLY


       COME NOW the Plaintiffs, Patricia A. Chambliss and Thomas F. Chambliss, by and

through counsel, and with the consent of all parties, as evidenced by the signature of

counsel hereinbelow, all parties hereby stipulate that the Defendant, Enterprise FM Trust,

may be dismissed without prejudice as a party Defendant in the above matter.
                               th
Respectfully submitted this 17 day of February, 2022.

SHUTTLEWORTH PLLC                               NAHON SAHAROVICH & TROTZ, PLC
BY: /s/ Vickie Moffett Cruzen                   BY: /s/ R. Deniger Cobb, Jr., Esq._
MICHAEL G. DERRICK (#14820)                     Glenn K. Vines, Jr., Esq.
VICKIE MOFFETT CRUZEN (#24609)                  R. Deniger Cobb, Jr., Esq.
6077 Primacy Parkway, Suite 200                 488 South Mendenhall
Memphis, Tennessee 38119                        Memphis, Tennessee 38117
(901) 526-7399                                  gvines@nstlaw.com
mderrick@swlawpllc.com                          dcobb@nstlaw.com
vmoffettcruzen@swlawpllc.com                    Attorneys for Plaintiffs
Attorneys for Defendants
